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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ROADGET BUSINESS PTE. LTD.,                     )
                                                )
               Plaintiff,                       )
                                                )
                              v.                )   No. 23 CV 16262
                                                )
THE INDIVIDUALS,                                )   Judge Jeffrey I. Cummings
CORPORATIONS, LIMITED                           )
LIABILITY COMPANIES,                            )
PARTNERSHIPS, AND                               )
UNINCORPORATED                                  )
ASSOCIATIONS IDENTIFIED ON                      )
SCHEDULE A HERETO,                              )
                                                )
               Defendant.                       )

                                                ORDER

       In light of the Court’s Memorandum Opinion and Order on defendants’ motion to

dismiss, the Court further orders as follows:

       (1)     Plaintiff’s motion for preliminary injunction, (Dckt. #21), is denied without
               prejudice with respect to defendants nos. 1, 2, 4, 6, 7, 11, 18, 20, 22, 26, 29) and
               defendant no. 19 (which is represented by the same counsel and has filed an
               answer to the complaint). Plaintiff’s counsel and defense counsel shall meet and
               confer to determine whether they can agree that the TRO – previously converted
               to a preliminary injunction by way of the Court’s January 2, 2024 order, (Dckt.
               #25) – will remain in effect until the resolution of this case as to these defendants;

       (2)     Plaintiff’s motion for preliminary injunction is granted solely with respect to the
               remaining non-appearing defendants nos. 15, 16, 21, 27, 30, 31, 32, 33.
               Plaintiff’s filings establish that it has acted expeditiously to protect its interests
               and that there remains a significant risk defendants will transfer relevant assets
               beyond the Court’s reach. For these reasons, as well as the reasons provided in
               the whole of plaintiff’s filings and as stated by the Court in connection with entry
               of the TRO, the Court is persuaded that plaintiff has satisfied the requirements for
               a preliminary injunction. In addition, the Court finds that the balance of harms
               favors plaintiff and that a preliminary injunction serves the public interest by,
               among other things, protecting consumers from the marketing of counterfeit
               goods. Plaintiff has also certified and established that it provided electronic
               notice to defendants of the pendency of this action and the motion, but no
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             objection to the motion for a preliminary injunction has been filed on behalf of
             any defendant. Plaintiff’s counsel shall submit an updated preliminary injunction
             order regarding those defendants to the Court’s proposed order inbox
             (Proposed_Order_Cummings@ilnd.uscourts.gov) by October 2, 2024;

      (3)    Defendants’ motion for referral to the register of copyrights under 17 U.S.C.
             §411(b)(2), (Dckt. #62), and defendants’ motion for leave to file supplemental
             information in support of that motion, (Dckt. #96), are entered and continued; and

      (4)    By October 18, 2024, the parties shall file a joint status setting forth: (a) whether
             they have reached an agreement regarding the preliminary injunction order; (b)
             the status of any ongoing settlement negotiations; (c) whether plaintiff intends to
             seek an order of default and default judgment as to the remaining non-appearing
             defendants; and (d) whether defendants continue to seek referral to the copyright
             office, notwithstanding the dismissal of at least some of the defendants that
             initially sought such relief.


Date: September 27, 2024




                                                            ________________________
                                                            Jeffrey I. Cummings
                                                            United States District Court Judge
